     Case 23-01129-mkn     Doc 22        Entered 11/30/23 15:59:22   Page 1 of 12



1    MICHAEL E. STOBERSKI, ESQ.
     Nevada Bar No. 004762
2
     OLSON CANNON GORMLEY & STOBERSKI
3    9950 West Cheyenne Avenue
     Las Vegas, NV 89129
4    mstoberski@ocgas.com
     T: (702) 384-4012
5
     F: (702) 383-0701
6    Attorneys for Defendant
     Signature Real Estate Group
7

8
                          UNITED STATES BANKRUPTCY COURT
9
                                        DISTRICT OF NEVADA
10

11   IN RE:                                           BK NUMBER: 23-12054-mkn
                                                      CHAPTER 13
12   TERESA RENITA BURWELL,
13                      Debtor.                       Adversary Proceeding No. 23-01129-mkn
     ______________________________________
14                                                    AMENDED JOINDER TO CREDITOR
                                                      DEFENDANT SOUTHERN NEVADA
15   TERESA RENITA BURWELL,                           EVI
16                                                    DISMISS
                           Plaintiff,
17
     vs.                                              Hearing Date: December 13, 2023
                                                      Hearing Time: 9:30 a.m.
18
     SIGNATURE REAL ESTATE GROUP and
19   SOUTHERN NEVADA EVICTION
     SERVICES,
20
                           Defendants.
21

22

23          COMES NOW Defendant Signature Real Estate Group by and through its Counsel of
24   Record MICHAEL E. STOBERSKI, ESQ., and ALEXANDER ADRIAN, ESQ., of the law firm
25
     of OLSON CANNON GORMLEY & STOBERSKI and hereby joins Creditor Defendant
26
                                                         TION TO DISMISS (pursuant to FRBP
27

28
     5005(a) and 7003).


                                                  1
     Case 23-01129-mkn        Doc 22    Entered 11/30/23 15:59:22       Page 2 of 12



1           This joinder hereby adopts the same arguments and grounds filed in support of said
2
     Motion, additional argument presented in favor of dismissal herein, all papers and pleadings on
3
     file with the Court, and any and all oral argument and evidence the Court may allow at the time
4
     of the hearing on this Motion.
5

6           Dated this 30th day of November, 2023.

7                                         OLSON CANNON GORMLEY & STOBERSKI
8

9                                           /s/ Michael E. Stoberski, Esq.
                                          MICHAEL E. STOBERSKI, ESQ.
10                                        Nevada Bar No: 004762
                                          9950 W. Cheyenne Avenue
11
                                          Las Vegas, Nevada 89129
12                                        Attorneys for Defendant
                                          Signature Real Estate Group
13

14
                       MEMORANDUM OF POINTS AND AUTHORITIES
15
                                                   I.
16
                                          INTRODUCTION
17

18          As indicated, supra, the immediate joinder submitted by Joining Defendant Signature

19                       Joining                                                        -Defendant
20

21

22
     SNES, the immediate adversary action was filed on September 20, 2023, fourteen days after the
23

24                                                              is Court (Case No. 23-12054-mkn;

25                                        -
26
     Federal Rules of Bankruptcy Procedure, Plaintiff Debtor lacks standing to assert an adversary
27
     complaint as there is no active bankruptcy action from which the adversary action stems. See,
28
     FRBP 5005(a) and FRBP 7003.
                                                     2
     Case 23-01129-mkn             Doc 22      Entered 11/30/23 15:59:22              Page 3 of 12



1            Joining
2

3
     entertain the immediate adversary action, Plaintiff fails to state a claim for punitive and actual
4
     damages (as pursuant to 11 U.S.C. § 362(k)(1)) as the procedural history of this controversy
5

6    establishes that there was no automatic stay in place under 11 U.S.C. § 362(a) at the time of

7                                                             n greater detail hereunder, Plaintiff Debtor filed
8
     a separate bankruptcy action in January of 2023 (Bankruptcy case No. BK-23-10056-mkn,
9
                                                     -
10
             By operation of 11 U.S.C. § 362(c)(3)(A), the automatic stay triggered by the subsequent
11

12   bankruptcy filing 23-12054, on May 22, 2023, was set to expire 30 days after the filing of the

13   initial petition. While 11 U.S.C. § 362(c)(3)(b) provides leeway if a party in interest files a
14
     motion for a continuance of the stay upon notice to the parties and upon hearing to be held prior
15
     to the expiration of the automatic stay, Plaintiff Debtor waited until after the date the automatic
16
     stay was set to expire (June 21, 2023), after the Las Vegas Justice Court issued its renewed
17

18   summary eviction order (and service of the same to the Constable) (July 12, 2023) and a day

19   before the summary eviction was effectuated (July 17, 2023) to file her emergency motion for a
20
     stay with this Court,1
21
             As discussed in greater detail hereunder, this emergency motion filed by Plaintiff Debtor
22
     did not revive the automatic stay under 11 U.S.C. § 362(a) which had expired on June 21, 2023.
23

24   Thus, the Defendants acted in lawful accord with the summary eviction order issued by the Las

25   Vegas Justice Court on July 12, 2023. Thus, there is no set of facts which would entitle Plaintiff
26

27

28   1
         without any notice rendered to the Defendants of the emergency motion for a stay in the bankruptcy
     proceeding. The emergency Motion was filed ex-parte, requested that no hearing be held, and lacked a certificate
     of service affirming that requisite notice under 11 U.S.C. 362(c)(3)(B) was effectuated
                                                               3
     Case 23-01129-mkn             Doc 22       Entered 11/30/23 15:59:22              Page 4 of 12



1    Debtor to punitive damages under 11 U.S.C. §
2
     stay by virtue of the fact that there was no stay in effect at the time of the eviction. Thus, Plaintiff
3
     Debtor is not entitled to the $200,000.00 in actual and punitive damages she seeks, and the Court
4
     must dismiss the adversary action accordingly.
5

6                                                            II.

7                                               LEGAL ARGUMENT
8

9
     action well after her pending bankruptcy action had been dismissed. Under the Federal Rules of
10
                                                                                                            adversary
11

12   proceeding be filed with the court in which the case under the Code is pending unless 28 U.S.C.

13   § 1473 authorizes the filing of the complaint in another district.
14

15
     dismissal as per FRBP §§§ 8002, 8003, 8004, and 28 USC §§ 1930(b) and (c); instead this is a
16
     separate action for damages. Indeed, Plaintiff Debtor herself admits that there were
17

18                                                   and does not contest its dismissal.2 However while this

19   concession is accurate, Plaintiff Debtor fails to provide this Court with the full story.
20
              The stay that Plaintiff Debtor is referring to presumptively arises from the filing of a
21
     voluntary bankruptcy petition in Case No. 23-12054-mkn, which was filed on May 22, 2023, at
22
     3:46 P.M. as a Chapter 13 bankruptcy. (Exhibit                                                    -12054) This
23

24   bankruptcy filing was submitted just over one hour after the Court had issued an Order for

25   Summary Eviction (Exhibit                   Las Vegas Justice Court Docket Summary Case No.
26

27
     2
       It should be noted that while dismissal was granted on grounds that Plaintiff failed to abide by procedural
28   requirements regarding proposed schedules, the bankruptcy itself was filed as a response to the Las Vegas Justice
                                                                     he adversary action complaint itself is an attempt

                                                              4
     Case 23-01129-mkn           Doc 22      Entered 11/30/23 15:59:22         Page 5 of 12



1                                                                    ).3 Plaintiff Debtor explains that she
2

3
                                                        ¶ 28).
4
               Plaintiff claims that upon her filing of the appropriate bankruptcy documents with notice
5

6                                            Id. ¶ 29) an automatic stay under 11 U.S.C. § 362 went into

7                            Justice Court sent the eviction order after the fact, the constable respected
8
     the automatic stay, and they did not post a 24-hour notice or perform a lock out. (Id. ¶ 30). While
9
     Joining Defendant (at this time) is without sufficient information or belief as to the exact details
10
     of why the Constable did not enforce the summary eviction order, Plaintiff Debtor is incorrect
11

12   that the mere filing of bankruptcy established an interminable automatic stay.

13             11 U.S.C. § 362(a) generally governs that an automatic stay is in effect upon the filing
14
     of a petition under Section 301, 302, or 303 of Chapter 11 (11 U.S.C. § 362(a)) and remains in
15
     effect until:
16
            (1) the stay of an act against property of the estate under subsection (a) of this section
17
     continues until such property is no longer part of the estate;
18
               (2) the stay of any other act under subsection (a) continues until the earliest of:
19                     A.      the time the (bankruptcy) case is closed;
                       B.      the time the (bankruptcy) case is dismissed; or
20
                       C.      if the case is a case under chapter 7 of this title concerning an
21                     individual or a case under chapter 9, 11, 12, 13 of this title, the time a discharge
                       is granted or denied.
22
               (11 U.S.C. § 362(c)(1)(2))
23

24             However, Plaintiff Debtor ignores or is seemingly unaware of the provisions of the very

25   next subpart of this subsection of the chapter, 11 U.S.C. § 362(c)(3) which holds, in relevant
26
     part, that:
27

28
     3

     Denied-
                                                         5
     Case 23-01129-mkn        Doc 22     Entered 11/30/23 15:59:22         Page 6 of 12



1           (3) if a single or joint case is filed by or against a debtor who is an individual in a case
            under chapter 7, 11, or 13, and if a single or joint case of the debtor was pending within
2
            the preceding 1-year period but was dismissed, other than a case refiled under a chapter
3           other than chapter 7 after dismissal under section 707(b)

4                   (A) the stay under subsection (a) with respect to any action taken with respect to
                    a debt or property securing such debt or with respect to any lease shall terminate
5
                    with respect to the debtor on the 30th day after the filing of the later case;
6
                                                                hat her bankruptcy action at issue here
7
     (Case No. 23-12054-MKN) is not the first bankruptcy action that she has filed in the calendar
8

9    year of 2023. Plaintiff filed a voluntary petition of bankruptcy on January 9, 2023, which was

10   marked a Chapter 7 Bankruptcy on the applicable form which triggered bankruptcy action No.
11
     BK-23-10056-mkn (                  oluntary Petition Filing, 23-10056).
12

13
     Discharge was granted on March 15, 2023 (with the Order entered on March 16, 2023), the
14

15   Bankruptcy Court for the District of Nevada discharged the trustee on April 17, 2023, and closed

16   the Bankruptcy action. (Exhibit       Order Closing 23-10056). Thus, for the period of January
17
     3, 2023, between April 17, 2023, under 11 U.S.C. §§ 362(c)(2)(A)(B), there was an automatic
18
     stay in place that preceded the filing of 23-12054.
19
            Case 23-12054 was filed on May 22, 2023 (Exhibit               -12054 Docket History)
20

21                                                                                               . This

22   represents a second bankruptcy filing in the calendar year, which means that 11 U.S.C. §
23
     362(3)(a) governs the timeline for any subsequent automatic stay triggered by the subsequent
24
     bankruptcy action under 11 U.S.C. § 362(a). This is further established by virtue of the fact that
25
     23-12054 was a separate Chapter 13 filing and not a refiling under the previous Chapter 7 23-
26

27   10056 filing. Because there was no motion for a continuation of the automatic stay filed in either

28   23-12054 or 23-10056, 11 U.S.C. § 362(b) does not apply to afford Plaintiff Debtor any relief

                                                     6
     Case 23-01129-mkn         Doc 22     Entered 11/30/23 15:59:22         Page 7 of 12



1    from the effect of 11 U.S.C. § 362(c)(3)(a) which holds that that the automatic stay was set to
2
     terminate on the 30th day after the filing of 23-12054, or June 21, 2023.
3
            Thus, the automatic stay from 23-10056 was not in effect when the Las Vegas Justice
4
     Court issued its Initial Order for Summary Eviction on May 22, 2023,                       . To the
5

6    extent that the filing of bankruptcy in 23-12054 triggered the stay prior to service of the eviction

7    order to the constable on May 23, 2023 (See, Id.): 1) the Las Vegas Justice Court was not notified
8
     of the subsequent bankruptcy action until July 17, 2023 (See, Id.); 2.) even considering that the
9
     filing of 23-12054 triggered an automatic stay by function of 11 U.S.C. § 362(a), this did not
10
     mean that the automatic stay would remain in effect until the dismissal of 23-12054 on
11

12   September 6, 2023.

13          The automatic stay had expired by operation of 11 USC § 362(c)(3)(a) on June 21, 2023,
14
     without a request for extension from Plaintiff Debtor prior to the expiration. Instead, on July 17,
15
     2023, the day before the summary eviction was e                                              -Parte
16
                                                                                              requested)
17

18   (Exhibit      Motion for Emergency Stay). On July 27, 2023, the Bankruptcy Court initially

19   issued an order granting the emergency stay in error, stating:
20
            1. that the scheduled lockout be stayed immediately until the creditor, Signature Real
21          Estate Group files the required notices and motions to seek proper relief of the automatic
            stay that the Bankruptcy Code 11 USC&362 outlines.
22
            (Exhibit      Order Granting Emergency Stay)
23

24          On subsequent revision, the Bankruptcy Judge denied the emergency Motion as follows:

25          DENIED because there is no evidence of notice being given to the identified landlord.
            Denial is without prejudice to any other relief being sought on proper notice in the event
26
            that the automatic stay has been violated.
27
            The lingering reference to violation of the automatic stay is problematic for two reasons.
28
     1. Under the Las Vegas Justice Court Docket for Case No. 23E011552                             , the
                                                      7
     Case 23-01129-mkn         Doc 22     Entered 11/30/23 15:59:22          Page 8 of 12



1    Summary Eviction order was renewed on July 12, 2023, and the eviction order was sent to the
2
     constable the same day.                          This occurred before Plaintiff Debtor filed her
3
     emergency motion to stay with the bankruptcy court (July 17, 2023); before the Plaintiff Debtor
4
     filed notice of Chapter 13 Bankruptcy with the Justice Court and documents in support of the
5

6    same therewith (also on July 17, 2023); before the eviction was effectuated (July 18, 2023) and

7    before the Bankruptcy Court issued its Order on July 27, 2023           thus, the relief sought was
8

9
     representations and;
10
            2. with all
11

12   relief did not outline that she had previously filed for bankruptcy under Chapter 7 in the same

13   calendar year, and it appears that the Bankruptcy Court for the District of Nevada did not
14
     consider this fact as there does not appear to be any mention of the timeline of expiration of the
15
     automatic stay as established by 11 U.S.C. § 362(c)(3)(a (e.g. that the automatic stay under 11
16
     USC § 362(a) would expire 30 days after the May 22, 2023, filing of 23-12054).
17

18          In other words, the burden was not upon the creditors to seek relief from a stay that had

19   automatically expired before eviction was effectuated. Instead, the burden was on Plaintiff
20
     Debtor to timely seek relief from the expiration of her second automatic stay
21
     July 27, 2023, order requiring the creditors to seek relief from the stay was in error as the stay
22
     had already expired (this is true even as to a lockout effectuated pursuant to a lawful summary
23

24   eviction). 11 U.S.C. 362(c)(3)(B) states that:

25          on the motion of a party in interest for continuation of the automatic stay and upon notice
            and a hearing, the court may extend the stay in particular cases as to any or all creditors
26
            (subject to such conditions or limitations as the court may then impose) after notice and
27          a hearing completed before the expiration of the 30-day period only if the party in
            interest demonstrates that the filing of the later case is in good faith as to the creditors to
28          be stayed.

                                                      8
     Case 23-01129-mkn             Doc 22       Entered 11/30/23 15:59:22               Page 9 of 12



1             Id. (emphasis added)
2
                                                                  ex-parte
3
     certificate of service denoting prior notice to the creditors or trustee. 4 Thus, the matter was
4
     decided by the Bankruptcy Court for the District of Nevada without prior notice, without hearing,
5

6

7    subsequent bankruptcy action without a timely prior motion for an extension from Plaintiff
8
     Debtor, and after the eviction had been effectuated (without prior notice of the emergency motion
9
     for relief or opportunity to respond). As an additional consideration, the protections of 11 U.S.C.
10
     § 362 require a showing of good faith to the creditors.
11

12            Upon review of the procedural history of both 23-12054, 23-10056, and the underlying

13

14
     actions has been responsive to her own failures to timely act in good faith to satisfy her tenant
15
     obligations and her obligations as a debtor filing for bankruptcy. 23-12054 was filed as a direct
16
                                                                                        (within hours), and the July
17

18   17, 2023, emergency motion for a stay in 23-

19

20

21   4
      Upon review of the docket, there are six (6) items between the July 17, 2023, Ex-Parte Emergency Motion to
     Stay Eviction and the July 27, 2023, order granting the same, and none appear to relate to a required filing giving
22   notice to the parties that the emergency relief was requested, contemplated or set for hearing as required by 11
     USC 362(c)(3)(b):
23
     27. 7-21-
24   28. 7-21-23 Notice of Hearing Date 07/17/2023 Hearing Time 2:00PM (Motion to Dismiss Case filed by Trustee)
     29. 7-23-23 Notice of Requirement to file Certification About a Financial Management Course (notice given to
25   debtor pursuant to 11 USC 727(a)(11), 11 USC 1328(g)(1), FRBP 1007(b)(7) and 3004(c)(1)(H).
     30. 7-24-23 Notice of Docketing Error (Motion to Dismiss Case filed by Trustee)
26   31. 7-24-23 Hearing Scheduled/Rescheduled to 8-17-23 at 2pm (Motion to Dismiss Case filed by Trustee
     32. 7-26-23 BNC Certificate of Notice (Related document 29 Notice of Requirement re: Financial Management
27   Course)
     33. 7-27-23 Order issuing Stay of Lockout.
28
     Thus, it does not appear from the record     that the Defendants had any prior notice of the emergency motion,
     nor an opportunity to respond.
                                                              9
     Case 23-01129-mkn             Doc 22       Entered 11/30/23 15:59:22              Page 10 of 12



1                                                                                               that day to inform the
2
     Court of the existence of 23-12054 which had been filed on May 22, 2023, 56 days prior).
3
              These actions were not undertaken by the Plaintiff Debtor in a good faith effort to
4
     demonstrate a willingness and capacity to meet her bankruptcy obligations, they were stall tactics
5

6    intended to delay her eviction. Indeed, 23-12054 was ultimately dismissed on September 6, 2023,

7    (Ex            Order Granting Dismissal of 23-12054) on grounds that Plaintiff Debtor failed to
8
     satisfy her obligations under 11 U.S.C. §§§ 1307, 1321, and 1326, requiring her to timely submit
9
     a plan for timely repayments as a good faith showing that Plaintiff Debtor would satisfy her
10
     obligations under her bankruptcy action.
11

12   Bankruptcy Proceeding).5

13            Because Plaintiff failed to issue notice of an emergency motion for a stay of eviction and
14
     lockout to the landlord; because a hearing was not held on the matter; because Plaintiff Debtor
15
     failed to demonstrate that the subsequent Bankruptcy action was raised in good faith to the
16
     creditors, and was not a stall tactic; and because the automatic stay triggered by 11 U.S.C. § 362
17

18   had procedurally expired on June 21, 2023, without a prior motion for continuance prior to

19   expiration6, the eviction effectuated by the Creditor Defendants per the authority of the Las
20
     Vegas Justice Court on July 18, 2023, was lawful and did not violate any provision of the
21
     bankruptcy code such as to warrant actual and/or punitive damages under 11 U.S.C. § 362(k)(1)
22
     as against any Defendant as there was no automatic stay in place at the time of said eviction
23

24   and thereby                                                                            §                           . 11

25   U.S.C. § 362(k)(1).
26

27
     5
       It should also be noted that Plaintiff debtor had every opportunity to seek relief through an adversary action
28   while the bankruptcy action was still pending. Instead, the immediate action was not filed until September 20,
     2023. 14 days after the dismissal of 23-12054, in violation of FRBP 5005(a) and 7003.
     6
                                                                                -
                                                                10
     Case 23-01129-mkn         Doc 22     Entered 11/30/23 15:59:22          Page 11 of 12



1                                                     III.
2
                                              CONCLUSION
3
             Because this adversary action was filed well after the underlying bankruptcy action (23-
4
     12054) was dismissed there is no basis for the filing of this adversary action and this Court does
5

6    not have jurisdiction to hear this matter. See, FBPR §§ 5005(a), 7003. To the extent that the

7    Court finds that it may retain jurisdiction over this matter, there is no basis for punitive or actual
8
     damages actual and punitive damages under 11 USC § 362(k)(1) as the automatic stay had
9
     expired pursuant to 11 U.S.C. § 362(c)(3)(A) well prior to the summary eviction effectuated on
10
     July 18, 2023, on Court order issued by the Las Vegas Justice Court on July 17, 2023. Therefore,
11

12   Joining Defendant Signature Real Estate Group respectfully requests that this Court grant

13   Southern Nevada Eviction Services                                                      Joining
14
     Defendant Signature Real Estate Group any additional relief as the Court deems appropriate.
15
             DATED this 30th day of November, 2023.
16

17
                                             OLSON CANNON GORMLEY & STOBERSKI
18

19                                              /s/ Michael E. Stoberski, Esq.
                                             MICHAEL E. STOBERSKI, ESQ.
20
                                             Nevada Bar No: 004762
21                                           9950 W. Cheyenne Avenue
                                             Las Vegas, Nevada 89129
22                                           Attorneys for Defendant
                                             Signature Real Estate Group
23

24

25

26

27

28


                                                      11
     Case 23-01129-mkn       Doc 22      Entered 11/30/23 15:59:22   Page 12 of 12



1                                  CERTIFICATE OF SERVICE
2
            I HEREBY CERTIFY that on this 30th day of November, 2023, I sent a true and correct
3
     copy of the above and foregoing AMENDED JOINDER TO CREDITOR DEFENDANT
4
     SOUTHERN NEVADA EVI                                                          to the parties
5

6    listed below via the                     -filing system:

7     Teresa Renita Burwell
      9344 Vista Waters Lane
8
      Las Vegas, NV 89178
9     Debtor/Plaintiff in pro per
      (Not on eservice list so mailed)
10

11
      Dylan Hansel, Esq.
12    501 S. 6th Street
      Las Vegas, NV 89101
13    Attorney for Defendant
      Southern Nevada Eviction Services
14

15

16                              /s/ Lisa Rico
                    An Employee of OLSON CANNON GORMLEY& STOBERSKI
17

18

19

20

21

22

23

24

25

26

27

28


                                                   12
